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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT united states Courts

for the Southern District of Texas
Southern District of Texas PILED
May 02, 2025
United States of America Nathan Ochsner, Clerk of Court
Angel David SALAS-Herrera (YOB 2006 / Mexico) Case No. M-25-0945-M
)
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of May 2, 2025 in the county of Hidalgo and Cameron in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
18 USC Sections 553 Export of Stolen Motor Vehicles

This criminal complaint is based on these facts:

Please see Attachment A

a Continued on the attached sheet.

/s/ Bryan Engle
Complaint authorized by: AUSA Roberto Lopez Complainant's signature

Bryan Engle, FBI Special Agent

Printed name and title

Submitted by reliable electronic means, sworn to
and attested to telephonically per Fed. R. Cr. 4.1,
and probable cause found on:

Ne Sere
Date: May 02, 2025, at 5:25 pm }

Judge’s signature

McAllen, Texas U.S. Magistrate Judge Nadia S. Medrano

Printed name and title

City and state:
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Attachment A

On May 2, 2025, I, FBI Special Agent, Bryan Engle received information from Texas Department
of Public Safety (“DPS”) Criminal Investigations Division (“CID”) Agents regarding Angel David
SALAS-Herrera (“SALAS”) (YOB: 2006). Based on discussions with DPS CID, I learned the
following:
A DPS Highway Patrol Trooper encountered a Jeep Gladiator reported stolen from Edinburg,
Texas in Cameron County, Texas on May 2, 2025. The Trooper attempted to conduct a traffic
stop on the Gladiator which led to a chase that eventually terminated when the
Gladiator crashed near a residence in Brownsville, Texas. Law enforcement on scene
identified Salas as an occupant of the vehicle and a juvenile as the driver of the vehicle.
During a search of the vehicle, law enforcement officers located multiple key fobs, an access
device utilized to reprogram key fobs, and a Glock pistol in the Gladiator. The pistol was
previously reported stolen.
During a post-Miranda interview of SALAS, SALAS stated that the pistol was obtained
during the theft of a stolen vehicle. SALAS that he was involved in the theft of the Gladiator.
SALAS stated that he intended to export the stolen Gladiator to Mexico to the Gulf
Cartel in exchange for payment. SALAS stated he was not aware that the Gulf Cartel
was designated as a foreign terrorist organization. SALAS also provided the location
of two additional stolen vehicles that were intended to be exported to Mexico. The

vehicles were subsequently recovered by law enforcement.
